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                                                                            U.S. DISTRICT COURT




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


  CRYSTAL LAGOONS U.S. CORP. AND                        ORDER DENYING MOTION TO
  CRYSTAL LAGOONS TECHNOLOGIES                        DISMISS AND MOTION TO COMPEL
  INC.,
                                                          Case No. 2:19-cv-00796-BSJ
                 Plaintiffs,
                                                          District Judge Bruce S. Jenkins
         vs.
                                                          JURY DEMANDED
  CLOWARD H2O LLC,

                 Defendant.


       On October 5, 2021, the Comt conducted a virtual and telephonic hearing on Plaintiffs'

Motion to Vacate Hearing on Cloward's Motion for Summary Judgment ofNon-Infringement in

Light of Claim Construction ("Motion"). (Dkt. No. 148.) Anthony Zeuli argued on behalf of

Plaintiffs Crystal Lagoons U.S. Corp. and Crystal Lagoons Technologies Inc. Jared Braithwaite

argued on behalf of Defendant Cloward H2O ("Defendant"). Having considered the motion, the

briefing, the evidence presented, the arguments of counsel, and the relevant legal standards, the

Comt ruled at the hearing and GRANTED the Motion. In confirmation of that ruling, and for

good and sufficient cause shown:

       IT IS HEREBY ORDERED:

       That Plaintiffs' Motion to Vacate Hearing on Cloward's Motion for Summary Judgment

of Non-Infringement in Light of Claim Construction (Dkt. No. 148) is hereby GRANTED.




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Defendant's Motion for Summary Judgment ofNon-Infringement in Light of Claim

Construction (Dkt. No. 118) is VA CATED without prejudice.

       SIGNED this   /~~ of October, 2021.




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